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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF DELAWARE



UNITED STATES OF AMERICA,                )
                                         )
             Plaintiff,                  )
                                         )
       v.                                ) Crim. No. 09-43-SLR
                                         )
PAUL E. PAVULAK,                         )
                                         )
             Defendant.                  )



                               MEMORANDUM ORDER

       At Wilmington this 13th day of October, 2011, having sentenced defendant Paul

E. Pavulak to imprisonment for a life term, pursuant to 18 U.S.C. § 3559(e), and given

the complexities of the statutory scheme implicated by the charges of conviction, the

court has determined to supplement its remarks made in open court by the following

statement of reasons.

       1. The statutory sentencing scheme for the crimes of conviction include the

following:

             a. As to Count One, failure to register as a sex offender, a violation of 18

U.S.C. § 2250(a): The maximum penalties that could be imposed by statute for this

offense include 10 years of imprisonment, followed by a minimum of 5 years of

supervised release (up to a lifetime term of supervised release), a $250,000 fine and a

$100 special assessment.

             b. As to Count Two, possession of child pornography, a violation of 18
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U.S.C. § 2252A(a)(5)(8) & (b)(2): The maximum penalties that could be imposed by

statute for this offense include a minimum of 10 years of imprisonment (up to 20 years

of imprisonment), followed by a minimum of 5 years of supervised release (up to a

lifetime term of supervised release), a $250,000 fine and a $100 special assessment.

             c. As to Count Three, attempted production of child pornography, a

violation of 18 U.S.C. § 2251 (a) & (e):1 The maximum penalties that could be imposed

by statute for this offense include a minimum term of 35 years of imprisonment (up to

life imprisonment), followed by a minimum of 5 years of supervised release (up to a

lifetime term of supervised release), a $250,000 fine and a $100 special assessment.

             d. As to Count Four, attempting to entice or coerce a minor, a violation of

18 U.S.C. § 2422(b): The maximum penalties that could be imposed by statute for this

offense includes a minimum term of 10 years of imprisonment (up to life imprisonment).

followed by a minimum of 5 years of supervised release (up to a lifetime term of

supervised release), a $250,000 fine and a $100 special assessment

             e. As to Count Five, committing an offense involving a minor while being

required to register as a sex offender, a violation of 18 U.S.C. § 2260A: The maximum

penalties that could be imposed by statute for this offense include a minimum term of



       1Defendant disputes whether the enhancement under § 2251(e) applies. Section
2251 (e) provides that,

             [a]ny individual who violates, or attempts or conspires to violate, this
             section shall be fined under this title and imprisoned not less than 15
             years nor more than 30 years ... , but if such person has 2 or more prior
             convictions under this chapter ... or under the laws of any State relating
             to the sexual exploitation of children, such person shall be fined under
             this title and imprisoned not less than 35 years nor more than life.

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10 years of imprisonment, which must be imposed consecutive to the sentence for any

underlying offenses, followed by up to 3 years of supervised release, a $250,000 fine

and a $100 special assessment.

              f. Pursuant to 18 U.S.C. § 3559(e), "[a] person who is convicted of a

Federal sex offense in which a minor is the victim shall be sentenced to life

imprisonment if the person has a prior sex conviction in which a minor was the victim,

unless the sentence of death is imposed."

                     (1) "Federal sex offense" includes an offense under § 2251

"(relating to sexual exploitation of children)." § 3559(e)(2)(A).

                     (2) Although the language does not appear in § 3559(e), the term

"State sex offense" is defined in subsection (e)(2)(8) as "an offense under State law

that is punishable by more than one year in prison and consists of conduct that would

be a Federal sex offense if, to the extent or in the manner specified in the applicable

provision of this title - (ii) the conduct occurred in any commonwealth, territory or

possession of the United States." § 3559(e)(2)(8).

       2. Defendant argues that neither of the sentencing enhancements provided for

under 18 U.S.C. §§ 2251 (e) or 3559(e) are applicable to him.

              a. With respect to the recidivist enhancement under § 2251 (e), defendant

argues that the term "sexual exploitation of children" is a term of art and must involve

visual depictions. More speCifically, Congress amended § 2251 (e) in 2006 to replace

the term "sexual exploitation of children" in the recidivist provision applicable to persons

having one prior conviction with a more specific enumeration of crimes, including

"aggravated sexual abuse, sexual abuse, abusive sexual contact involving a minor or

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ward, or sex trafficking of children, or the production, possession, receipt, mailing, sale,

distribution, shipment or transportation of child pronography." Adam Walsh Child

Protection and Safety Act of 2006, Pub. L. No. 109-248, § 206(b)(1)(8) (2006).

According to defendant, because Congress elected to keep the term "sexual

exploitation of children" for those offenders with two prior convictions, Congress must

have intended to exclude the conduct enumerated for the one-time offenders. In this

regard, defendant's two prior State convictions2 involve sexual contact with a minor, not

visual depictions; according to defendant, therefore, the § 2251(e) enhancement cannot

apply.

               b. With respect to the § 3559(e) enhancement, defendant argues that the

mandatory life sentence should not be applied because the fact that his prior

convictions involved a minor as the victim was not proven to the jury beyond a

reasonable doubt, as required under Apprendi v. New Jersey, 530 U.S. 466, 475

(2000).

         3. The court concludes that the § 3559(e) mandatory enhancement applies. As

noted above, defendant was convicted twice (in 1998 and 2005) under 11 Del. C. §

768, which expressly requires proof that the victims were minors. Defendant stipulated




      2Defendant was convicted in 1998 and again in 2004 for "unlawful sexual contact
second degree," a violation of 11 Del. C. § 768, which provides as follows:

               A person is guilty of unlawful sexual contact in the second degree
               when the person intentionally has sexual contact with another person
               who is less than 16 years of age ....

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to the fact of his prior state convictions at trial. 3 (0.1. 78, ex. 289) Therefore, Apprendi

is not applicable to this case, as § 3559(e) only requires proof of "the fact of a prior

conviction." 530 U.S. at 480.

       4. Although not necessary to address, the court notes that defendant's

arguments vis a vis the § 2251 (e) recidivist enhancement have not been embraced by

any court to date. Indeed, the Third Circuit has interpreted the term "sexual exploitation

of children" broadly, to encompass conduct beyond that involving visual depictions.

See United States v. Randolph, 364 F.3d 118, 122 (3d Cir. 2004). See also United

States v. Sanchez, 2011 WL 3677935 (6th Cir. Aug. 23, 2011). The court notes as well

that a sentence to life imprisonment would be justified under 18 U.S.C. § 3553(a), given

the nature and circumstances of his offense and his past history of sexually exploiting

children. More specifically, the jury in this case heard evidence that, less than two

months after his release from custody for his 2005 conviction, defendant began his

attempts to enlist a prostitute mother into making her 2-year-old daughter available for

sexual exploitation by defendant; defendant was concomitantly violating his sex

offender registration obligations that stemmed from    ~Iis   prior convictions. The jury

convicted defendant on all counts, rejecting all of the defenses presented to them.

      5. For all of these reasons, the court concludes that a sentence of life




        3Consistent with the statutory requirements, these prior state convictions were
punishable by up to two years in prison, 11 Del. C. §§ 768 and 4205, and relate to
conduct that would have been a "Federal sex offense" if that conduct had occurred
"within the special maritime and territorial jurisdiction of the United States, see 18
U.S.C. §§ 2241 (c) and 2246(2)(0).

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imprisonment is mandated pursuant to 18 U.S.C. § 3559(e),4 and otherwise consistent

with 18 U.S.C. §§ 2251 (e) and 3553(a).




       4The court did not impose a term of supervised release to follow, on the
assumption that a term of life imprisonment contemplates that defendant will not be
released during his lifetime.

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